 Case 7:18-cv-00055-GEC Document 29 Filed 03/18/19 Page 1 of 1 Pageid#: 211
                                                                           CLERK'S OffiCe u.S. DIST. COURT
                                                                                   AT ROAt-IOKE, VA
                                                                                        FILED

                          IN THE UNITED STATES DISTRICT COURT                      MAR 1 8 2019
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

AVEPOINT, INC.,                                  )
                                                 )
AVEPOINT PUBLIC SECTOR, INC., and                )
                                                 )
GARY HERMAN                                      )
                                                 )
                                                 )
                Plaintiffs,
                                                 )
                                                 )
v. . .                                                       Case No. 7:18-cv-00055-GEC
                                                 )
                                                 )
METALOGIX SOFTWARE US, INC., and                 )
                                                 )
GARTH LUKE                                       )
                                                 )
                Defendants.                      )

                                         FINAL ORDER

         THIS DAY came Plaintiffs AvePoint, Inc., AvePoint Public Sector, Inc. and Gary

Herman and Defendants Metalogix Software US, Inc. and Garth Luke (each individually, a

"Party" and collectively, the "Parties"), advising the Court that the matters in dispute in this

action have been resolved and requesting that this Court enter a Final Order herein confirming

their resolution and dismissing the action with prejudice.

         It appearing proper to do so, it is therefore ORDERED that this case is dismissed from

the docket with prejudice, with each Party to bear its or his own attorneys' fees, costs and

expenses. The Clerk is directed to send a certified copy of this Final Order to all counsel of

record in this action.

         It is SO ORDERED.

         Dated March      r~   , 2019
                                                         Honorable Glen E. Conrad
                                                         Senior United States District Judge




29335/l/8712590vl
